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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,

      Plaintiff                                   Case No. 19-20450-CR-Scola
          v.

  ALEX NAIN SAAB MORAN,

      Defendant.


                  NOTICE REFINING SCOPE OF TEMPORARY APPEARANCE
                   ON BEHALF OF DEFENDANT ALEX NAIN SAAB MORAN

         Kendall Wangsgard, who was previously admitted pro hac vice for purposes of a special

 appearance in the above-styled case to pursue a pre-arraignment motion to dismiss the indictment,

 (ECF 21), hereby renews his temporary appearance as attorney for Defendant Alex Nain Saab

 Moran. Pursuant to Local Rule 88.7, Counsel notifies this Court that the undersigned appearance

 is a temporary appearance through a decision by this Court on the issue of whether the Defendant

 is a foreign diplomat and immune from prosecution. (ECF 102)

         Counsel states that Neil M. Schuster has entered a permanent and unconditional appearance

 as counsel and has been retained for trial and appeal. Both the Defendant and permanent counsel

 consent to this temporary appearance.

 Date: June 21, 2022


                                                 s/Lindy K. Keown
                                                 Lindy K. Keown
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                                                   Counsel for Alex Nain Saab Moran

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 21, 2022, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to all

 counsel of record.

                                                      s/Lindy K. Keown
                                                      Lindy K. Keown




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